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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION
 BRANTLEY COUNTY DEVELOPMENT                         :
 PARTNERS, LLC,                                      :
                                                     :
        Plaintiff,                                   :
                                                     :
 v.                                                  :    CASE NO. 5:19-CV-00109
                                                     :
 BRANTLEY COUNTY, GEORGIA by and                     :
 through its Chairman and Members of the             :
 Brantley County Board of Commissioners;             :
 CHRIS “SKIPPER” HARRIS, RANDY                       :
 DAVIDSON, BRIAN HENDRIX, JESSE                      :
 MOBLEY AND RAY GRIFFIN, all in their                :
 individual and official capacities as               :
 Commissioners,                                      :
                                                     :
         Defendants.                                 :

                     PLAINTIFF’S NOTICE OF INTENT TO FILE REPLY

        In accordance with Local Rule 7.6 for Civil Cases of the Southern District of Georgia,
Plaintiff BRANTLEY COUNTY DEVELOPMENT PARTNERS, LLC., (hereinafter “BCDP”)
files this Notice of Intent to file a Reply Brief as follows:
        By service dated November 5, 2021, and received by BCDP on November 5, 2021,
counsel for Defendants filed a Memorandum of Law in Opposition to Plaintiff’s Motion for
Summary Judgment. BCDP intends to file a reply in accordance with LR. 7.6.
        RESPECTFULLY SUBMITTED this 9th day of November, 2021.

                                                GILBERT, HARRELL, SUMERFORD &
                                                MARTIN, P.C.

                                                 /s/ Mark D. Johnson
                                                MARK D. JOHNSON
                                                Georgia Bar No. 395041
                                                777 Gloucester Street
                                                Brunswick, GA 31520
                                                Office: (912) 265-6700
                                                Facsimile: (912) 264-0244
                                                Email: mjohnson@gilbertharrelllaw.com

                                                Counsel for Plaintiff
     Case 5:19-cv-00109-LGW-BWC Document 154 Filed 11/09/21 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 9, 2021, I electronically filed the foregoing, NOTICE

OF INTENT TO    FILE REPLY, with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the all counsel of record.



                                               /s/ Mark D. Johnson
                                               Mark D. Johnson
                                               Georgia Bar No. 395,041
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